Case 2:22-cv-01011-MJH Document 1-1 Filed 07/12/22 Page 1 of 4




                 EXHIBIT 1
                         Case 2:22-cv-01011-MJH Document 1-1 Filed 07/12/22 Page 2 of 4
EEOC Form 5 (11/09)


                      CHARGE OF DISCRIMINATION                                                              Charge Presented To:              Agency(ies) Charge No(s):
              This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                             FEPA
                     Statement and other information before completing this form.
                                                                                                                                                 533-2021-01473
                                                                                                                X EEOC
                                                    Pennsylvania Human Relations Commission                                                                    and EEOC
                                                                            State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                       Home Phone (Incl. Area Code)              Date of Birth

                                                                                                                         312-852-6058                          1975
Dr. Mamta Gupta
Street Address                                                                   City, State and ZIP Code



1755 Stevensan Drive,                                                                            Sewickley, PA 15143
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                                 No. Employees, Members         Phone No. (Include Area Code)

                                                                                                                           21,000                      (412) 362-8677
Allegheny Health Network
Street Address                                                                   City, State and ZIP Code


320 E North Avenue,                                                             Pittsburgh, PA 15212
Name                                                                                                                 No. Employees, Members         Phone No. (Include Area Code)



Street Address                                                                   City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                         DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                   Earliest                Latest

    X     RACE         X       COLOR            X     SEX                 RELIGION          X      NATIONAL ORIGIN
                                                                                                                                 11/5/2019                     9/8/2021
         X       RETALIATION           X    AGE                DISABILITY                   GENETIC INFORMATION

                       OTHER (Specify)                                                                                                         CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):


 Mamta Gupta, a 46-year-old woman from India, had been working for Allegheny Health Network since October
 1, 2019, as a Radiology Resident Physician. Dr. Gupta's job duties consisted of reading all radiological studies
 (including CT, MRI, X- Rays and Ultrasounds); pre-procedural work ups for attendings; implementing imaging
 protocols, and clinical medicine, including weekend and night calls. Several attending physicians praised Dr.
 Gupta, both orally and in writing, for her academic achievements at national and international conferences in
 which she outperformed her peers. At the American Roentgen Ray Society (ARRS) 2020 meeting, Dr. Gupta
 was an invited oral presenter. In the ARRS 2021 meeting, one of her presentations was awarded a Certificate of
 Merit. Written evaluations by multiple other attending physicians stated that Dr. Gupta possessed good
 communication skills and a pleasant bedside manner.

 Throughout Dr. Gupta’s employment with Allegheny Health Network, she was never given any verbal warnings
 or any disciplinary actions. Each evaluation described Dr. Gupta’s competency and commendable performance
 until a fictitious letter of deficiency (LOD), highlighting the workplace discrimination.
 Regardless of her exceptional performance, Dr. Gupta experienced discrimination at Allegheny Health Network
 due to her national origin, age and gender. Dr. Gupta was treated diﬀerently than her peers based on her national
               Case 2:22-cv-01011-MJH Document 1-1 Filed 07/12/22 Page 3 of 4
origin, age and gender. Unlike Dr. Gupta, Charles Li, an American, male, attending physician in Radiology,
younger than Dr. Gupta, was not punished regarding a questionable procedure.

Other Radiology residents, all non-foreign medical graduates, and younger than Dr. Gupta, were given
preferential treatment. Dr. Gupta’s direct supervisor was the Radiology Residency PD – William Peterson, an
American man who is younger than Dr. Gupta. Dr. Peterson, discriminated against Dr. Gupta by not providing
her with the technological resources to perform her duties equivalent to those of other residents. He further
created a hostile work environment saying that she should “go back to India” at her age, and that he did not
understand Dr. Gupta’s accent, despite her high score on English proficiency examinations. In a single incident
where Dr. Gupta and a male resident made a simple scheduling error, only Dr. Gupta was disciplined.

Additionally, an American ultrasound technologist in Obstetrical Medicine, Megan Miller, was given
preferential treatment when Dr. Gupta voiced her concern about multiple delays in the imaging of emergency
patients. Concerned about poor patient care, Dr. Gupta emailed Dr. Klepchick. The matter went to the Clinical
Competency Committee (CCC). Rather than take corrective action against Megan Miller, the CCC issued a
Letter of Deﬁciency (LOD) against Dr. Gupta, without ever interviewing her.

On February 2, 2021, Dr. Peterson, and the associate PD, Matthew Miller, met with Dr. Gupta to discuss the
LOD. Dr. Gupta was able to refute each false statement in the LOD. After hearing Dr. Gupta’s account, they
agreed that Megan Miller, not Dr. Gupta, was at fault. However, Dr. Peterson explained that since the CCC had
already issued the LOD, Dr. Gupta was required to sign it. Dr. Gupta complied with her supervisor’s instruction.

Within a few days of the February 2, 2021 meeting, Mamta Gupta began experiencing severe connectivity issues
with her work account, hampering her ability to perform. Dr. Gupta attempted to address these technical
difficulties, but was told her account could not be fixed.This disparate treatment added to the stressful conditions
in the already hostile work environment.

In March, 2021, Abdominal Radiology attending physicians were emailed a request to submit evaluations
singling out Dr. Gupta. This created additional negative bias.

Despite the problems with her work account and hostile work environment, Dr. Gupta continued to perform
well, receiving positive verbal feedback from various attendings on a daily basis. However the PD refused to
grant Dr. Gupta access to her written evaluations. This was against hospital policy, which disallowed Dr. Gupta,
a resident, from addressing any issues.

On May 11, 2021, the PD summoned Dr. Gupta to a meeting in the GME office. Without any prior notice, he
handed her a termination letter lacking any probationary period. Dr. Gupta was told that she could either resign,
or be terminated. Dr. Gupta was led to believe that by failing to resign, she risked Allegheny Health Network
disseminating false information to damage her career, and chances for future employment as a radiologist in the
United States. Dr. Gupta felt she was forced to resign rather than appeal the allegations against her.

Fearing for her future career, Dr. Gupta resigned. However, the PD continued to convey false negative reviews
of Dr. Gupta’s performance, including the circumstances of her constructive discharge with Allegheny Health
Network.

Dr. Gupta’s applications to several programs were rejected because Allegheny Health Network, and the PD in
particular, supplied false performance evaluations and alleged that she was terminated while on probation. Dr.
Gupta's actual performance evaluations refute these retaliatory falsehoods. She was granted access to review, but
not copy, her evaluations only after the forced resignation. Allegheny Health Network has further retaliated
                   Case 2:22-cv-01011-MJH Document 1-1 Filed 07/12/22 Page 4 of 4
 against Dr. Gupta by pressuring colleagues to withdraw their support of her, or risk losing their own jobs. As a
 result, letters of recommendation required to further Dr. Gupta’s career are not available.

 Dr. Gupta’s position at Allegheny Health Network was filled by a younger, American man.




I want this charge filed with both the EEOC and the State or local Agency, if any. I will   NOTARY – When necessary for State and Local Agency Requirements
advise the agencies if I change my address or phone number and I will cooperate fully
with them in the processing of my charge in accordance with their procedures.
                                                                                            I swear or affirm that I have read the above charge and that it is true to the
I declare under penalty of perjury that the above is true and correct.                      best of my knowledge, information and belief.
                                                                                            SIGNATURE OF COMPLAINANT



                                                                                            SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                            (month, day, year)

            Date                                Charging Party Signature
